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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                        Case No.: 20-cv-21459-ALTONAGA/GOODMAN


  GOVERNMENT EMPLOYEES INSURANCE CO., et al.

        Plaintiffs,

  vs.

  FLORIDA SPINE AND JOINT INSTITUTE, LLC., et al.,

       Defendants.
  _____________________________________________________/


                                JOINT NOTICE OF SETTLEMENT

          Plaintiffs, Government Employees Insurance Co., GEICO Indemnity Co., GEICO

  General Insurance Company, and GEICO Casualty Co., and Defendants, Florida Spine and Joint

  Institute, LLC, TCFII Spine LLC, Samuel Hess, M.D., Mark Brockelman, Ryan Fulcher, Peter

  Warheit, M.D., Steven Greenberg, M.D., Pedro Javier Tort-Saade, M.D., Alberto Rivera, M.D.,

  Karen Amar, D.C., John Crocco, P.A., Anthony Danieli, D.C., Jennifer Englander, D.C., Brian

  Layton, P.A., Nelinda Lopez, D.C., Henry Sanon, D.C., Danny Feder, D.C., and Michael White,

  D.C. (collectively “the Parties”), pursuant to Local Rule 16.4, inform the Court that they have

  reached a settlement that will resolve all claims in this case.

          The Parties are presently preparing formal settlement documents, and will file a

  stipulation of dismissal with prejudice upon finalizing and executing the formal settlement

  documents. The Parties anticipate finalizing the settlement and filing the stipulation of dismissal

  with prejudice within twenty days.
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  Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

         I certify that on August 20, 2020, the foregoing document is being served on the counsel of

  record on the attached Service List, either by transmission of Notices of Electronic Filing

  generated by CM/ECF or in some other authorized manner for those counsel or parties who are not

  authorized to receive Notices of Electronic Filing through the CM/ECF system.


                                                      /s/ John P. Marino
                                                      Attorney




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